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                  Exhibit L
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Robert Faby




Dear Honorable Judge Román,



      Thank you for taking the time to read this. My name is Robert Faby, and I first met Mr. Aaron Finn
behind the walls of Green Haven Correctional Facility in Stormville NY. I too, was an officer there, until
last year, when I resigned and moved south to The Sunshine State, taking a position as a Deputy Sheriff
in my county. Leaving Green Haven and NYSDOCCS was the best decision I could have made. Before I
resigned, however, I spent 9 years of my life working there, and got to know Aaron Finn, first as a
coworker, then as a friend. In Green Haven, there was a period of a couple years where Aaron and I
worked closely together in the same housing unit/school building. I know firsthand how Aaron acted
towards and treated the inmate population. He was always firm, yet fair, and consistent. He did not
change day to day, but was always the same, and officers and inmates alike knew what they could
expect from him. There was never any guessing. While at work, Aaron was always willing to help a
coworker whenever he could, sometimes dropping whatever he’s doing at the moment. He was always
willing to help a coworker by swapping shifts, sometimes even giving up a holiday with his wife, so
another coworker could spend it with their children. I could always rely on him to assist me at work, and
outside of work was no different. Aaron was just a phone call away. I remember one instance, I was
doing some car work in my driveway, and, as usual, something broke. I called Aaron, and he dropped
what he was doing and was at my door within a half hour. He took me out to the auto parts store, I got
what I needed, and he brought me back home, and helped me finish the install. As the years went on, I
came to not only know him as a friend, but his wife Amanda as well. My wife and I became quick friends
with Aaron and Amanda, and would get together for game nights, fireside chats, etc… We were there
when Aaron and Amanda got married. Sadly, we had already moved when                was born, but that didn’t
mean we weren’t just as excited as we would have been in person. Since leaving Green Haven, Aaron
has been working hard to grow his business and provide for his growing family. I’ve worked a few jobs
with him in this endeavor, and it just felt like hanging out with a friend for a day, and not like work at all.
I was not present during the October 2019 incident in which Aaron was injured at work, but I did hear
about it, from others at work and from Aaron himself. I know that when he did return, he wasn’t the
same. I had known him for about 6 years at this point, and I knew him fairly well. In my opinion, he was
brought back too soon, most likely due to short staffing, and without a proper “psyche eval.” Every
other state entity (PD, FD, etc…) requires a Psychological Evaluation after any traumatic incident, except
for NYSDOCCS. Once his “cocktail” was done, it was back to business. Anyone who gets stabbed while
their help stands by and watches while ignoring the calls for help would no doubt develop PTSD, and a
proper “Psyche Eval” may have caught that in time. I cannot express how sad I am that the department
he worked for and supported let him down like this. We had a running “joke” at work that nothing
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would change until someone got hurt, and once again, that seems to prove true. NYSDOCCS is reactive,
not proactive. Instead of heading things off, they wait for something bad to happen and THEN consider
making changes. In the Use of Force that led to this case, I was present that day, though not involved in
the incident. I was working in an adjacent housing unit, but I remember the radio call requesting aid to
the housing block, and I remember clearly the officers who did respond making their way back to my
block, refusing to say anything about it because of what had transpired. I spoke with Aaron after work
that day, to make sure he was ok, and his response was that he couldn’t believe what happened, and
how horrible he felt for it. I remember him being remorseful over the incident, and upset that the
sergeant on duty that day switched his job, thus putting him in that housing unit. Like I said, I’m glad I
resigned. Staff assaults are on the rise, and the inmates do not face any disciplinary measures for doing
it. This department is failing all of the men and women who work behind the walls. My family and I
recently made a trip to NY back in August to visit friends and family, and my wife and I made sure to get
together with Aaron, Amanda, and          before we left. We spent the night around a fire talking like old
friends do, catching up on life, and holding their adorable little baby boy. We talked about the future,
about the plans they were making to ensure          and Amanda would be ok in the uncertainty of what is
to come. I know for a fact that Aaron is remorseful for what happened, and would take it all back. While
I’m not saying it didn’t happen, I do know that NYSDOCCS could have prevented it, had they taken the
appropriate measures before mandating Aaron to return to work. They failed him, and in doing so, failed
the inmate who got hurt. I am asking you to please consider not letting the justice system that he spent
years of his life working for fail him too. For the sake of his family, I ask that you would please consider
an alternative to jail/prison time. He is a devoted friend, husband, son, and now father. Please do not
force his son to grow up without the love and care of his father, his parents to be uprooted from the
home he built to care for them, and his wife to go through life as a single mother. While his hands may
have done it, I strongly feel the blame for this incident lies not in Aaron, but in the department that
failed to care for one of their own, and allowed such an incident to happen. I sincerely thank you for
taking the time to read this letter.




Sincerely,

Robert Faby
